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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
                                                   §
                                                   §
VS.                                                §    CRIMINAL ACTION NO. H-11-340-009
                                                   §
                                                   §
                                                   §
STEVEN MARSHALL BOEHNING                           §

                                              ORDER

        The defendant, Stephen Boehning, has moved to correct the court’s denial of his earlier

motion seeking a sentence reduction under 18 U.S.C. § 3582(c)(2) and Amendment 782. Boehning

argues that the court had the authority to sentence him below the 38-month prison term the court

initially imposed. The court has considered his arguments and concludes that there is no legal basis

for the relief he seeks.

        A “court may reduce the term of imprisonment, after considering the factors set forth in

section 3553(a) to the extent that they are applicable, if such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission [emphasis added].” 18 U.S.C. § 3582(c)(2).

The Guidelines Manual, at U.S.S.G. § 1B1.10 (b)(2)(A), Limitation and Prohibition on Extent of

Reduction, and comment. (n. 3) (a policy statement), addresses the circumstances that the defendant

presents–an original sentence that is below what the Guideline range would be if the retroactive

amendments were applied. The defendant has not provided substantial assistance that would warrant

a § 5K1.1 reduction and provide an exception to the Guidelines Limitation and Prohibition

provision. In these circumstances, there is no ground for a further reduction. Nor does the record
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reflect a principled basis for the court to exercise its discretion to reduce the defendant’s sentence

below 38 months.

       The motion to correct, Docket Entry No. 731, is denied.

               SIGNED on July 10, 2015, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge




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